 .....   -:;:-                  9:41 AM

 ~Chats               Q +1 (470) 310-5992
                           last seen recently

                            Add Contact




                              October4




   He wasn't to make hijrah               13PM

   But glad he can help you               13PM

   It was just for charity purposes                '3PM

   And I have no clue who he is                 14 PM


   Was just given to me to give to you for
   charity                          6 :OJ PM

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 @               Message                          ~     1m   ~
 •••••9                          9:41 AM

 ~Chats           Q +1 (470) 310-5992
                            last seen recently

                             Add Contact

   He wasn't to make hijrah                   ,3 PM

   But glad he can help you                   13 PM


   It was just for charity purposes                   6 13 PM

   And I have no clue who he is ,. 14 PM

   Was just given to me to give to you for
   charity                          6.1s PM


            That's a big risk I thought you said you
            trusted him?                     7:40 PM../


            :v1essage




  1 2 3 4 5 6                                   7 8 9 0

        I                        (        )    $       & @ ,,
  #+=                                ?.                   I
                        I


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 ABC      @)      ~                  space                      return
 ••••• 9                 9:41 AM

 ~Chats           Q Deleted Account
                 last seen a long time ago
                                                       I


                      Add Contact




  Remember I don't want to talk about
  this and also if you remember I said to
  forget it                        /.4.e. PM


  And not to worry about it          43PM

  I never said he was for H         '43PM

  But that charity is trustable          4 4 PM


  You're going to get me arrested            1 44 PM


  Let's just not talk about this         44 PM


  Nor mention my name in anything
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  Jazak'allahu khayran      7   ·44 PM
       AK
   I   Sis ... so many times I've heard you say th ...
   How is my heart feeling                   1v v6 PM


   Well I have trust in Allah ~            >:06 PM


            I think that's all you can do... take this
            time to focus on Allah (SWT), read the
            Quran, take care of yourself, just focus
            on you ... I know breakups take a toll
            and hurt. Especially when they just
            ghost you and remove your ability to
            get closure                        10.-24 PM..//

              As a side note... I saw this sticker and
              totally thought of you!!!       10.-51 PM..//




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   Yeah true in'sha'Allah           33PM
